18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 1 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 2 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 3 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 4 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 5 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 6 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 7 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 8 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 9 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 10 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 11 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 12 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 13 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 14 of 15
18-23221-rdd   Doc 4   Filed 08/08/18    Entered 08/08/18 11:58:27   Main Document
                                        Pg 15 of 15
